   4:01-cr-03087-RGK          Doc # 186          Filed: 05/13/05   Page 1 of 6 - Page ID # 141


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 4:01CR3087
                                                         U.S.M. Number: 16918-047
RAY REHA
                        Defendant
                                                         Thom Lamb
                                                         Defendant’s Attorney
___________________________________
                        JUDGMENT IN A CRIMINAL CASE
            ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                       (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: July 17, 2002
(Or Date of Last Amended Judgment)

Reason for Amendment:
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count(s) I and VII of the Indictment.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                           Date Offense               Count
     Title & Section         Nature of Offense              Concluded               Number(s)


 21 USC 846                Conspiracy to distribute        August, 2001                  I
                           and possess with intent
                           to distribute
                           methamphetamine

 21 USC 853                Criminal Forfeiture            August 3, 2001                VII

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        Count(s) II through V of the Indictment are dismissed on the motion of the United States
as to this defendant only.
        Final order of forfeiture filed on 4/25/02 as to Count VII of the indictment.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                       May 13, 2005

                                                                 s/ RICHARD G. KOPF
                                                               UNITED STATES DISTRICT JUDGE

                                                                                May 13, 2005
     4:01-cr-03087-RGK      Doc # 186      Filed: 05/13/05     Page 2 of 6 - Page ID # 142


Defendant: RAY REHA                                                                   Page 2 of 6
Case Number: 4:01CR3087


                                       IMPRISONMENT

       The defendant’s sentence of imprisonment is reduced from the original sentence to a term
of seventy-two (72) months.

        The Court makes the following recommendations to the Bureau of Prisons:

1.      The Court recommends in the strongest possible terms, that the defendant be placed at the
        federal medical center in Rochester, Minnesota, because of his severe medical
        condition and that medical center has done a complete medical exam on the defendant.



                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                             _____________________________
                                                                     Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
      4:01-cr-03087-RGK       Doc # 186      Filed: 05/13/05     Page 3 of 6 - Page ID # 143


Defendant: RAY REHA                                                                      Page 3 of 6
Case Number: 4:01CR3087


                                    SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of five (5) years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of
supervised release that the defendant pay any such fine or restitution that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                        STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
      4:01-cr-03087-RGK          Doc # 186        Filed: 05/13/05        Page 4 of 6 - Page ID # 144


Defendant: RAY REHA                                                                                 Page 4 of 6
Case Number: 4:01CR3087


11.      The defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.



                              SPECIAL CONDITIONS OF SUPERVISION


1.       Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
         from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute or
         administer any alcohol, just the same as any other narcotic or controlled substance.

2.       Defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or night,
         with or without a warrant, at the request of the U.S. Probation Officer to determine the presence of
         alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
         be seized by the U.S. Probation Officer. This condition may be invoked with or without the
         cooperation of law enforcement officers.

3.       The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
         or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the U.S. Probation Officer.

4.       Defendant shall provide the U.S. Probation Officer with access to any requested financial information.

5.       Defendant shall participate in the District of Nebraska Victim Awareness Program as directed by the
         U. S. Probation Officer.

6.       Pursuant to 18 U.S.C. § 3583 (d), defendant shall submit to a drug test within fifteen (15) days of
         release on Supervised Release and at least two (2) periodic drug tests thereafter to determine
         whether the defendant is using a controlled substance. Further, defendant shall submit to such
         testing as requested by any U.S. Probation Officer to detect the presence of alcohol or controlled
         substances in the defendant’s body fluids and to determine whether the defendant has used any of
         those substances. Defendant shall pay for the collection of urine samples to be tested for the
         presence of alcohol and/or controlled substances.

7.       Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
         between the hours of 8:00am and 4:30pm, 100 Centennial Mall North, 530 U.S. Courthouse, Lincoln,
         Nebraska, (402) 437-5223, within seventy-two (72) hours of release from confinement.
   4:01-cr-03087-RGK       Doc # 186     Filed: 05/13/05    Page 5 of 6 - Page ID # 145


Defendant: RAY REHA                                                                Page 5 of 6
Case Number: 4:01CR3087


                          CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                   Total Fine                  Total Restitution

        $100.00 (PAID)

                                            FINE

       No fine imposed.


                                       RESTITUTION

       No Restitution was ordered.
   4:01-cr-03087-RGK            Doc # 186        Filed: 05/13/05    Page 6 of 6 - Page ID # 146


Defendant: RAY REHA                                                                          Page 6 of 6
Case Number: 4:01CR3087


                                     SCHEDULE OF PAYMENTS

        Having assessed the defendant’s ability to pay; payment of the total criminal monetary
penalties shall be due as follows:

          Lump sum payment of $ 100.00 special assessment has been paid, Receipt #L404113.

        Unless the court has expressly ordered otherwise in the special instruction above, if this
judgment imposes a period of imprisonment, payment of criminal monetary penalties shall be due
during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the
clerk of the court, unless otherwise directed by the court, the probation officer or the United States
attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, P.O. Box 83468, Lincoln, NE 68501.

      The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

          The defendant shall forfeit the defendant’s interest in the following property to the United
States:

                                  $4,070 in U. S. currency and
                                  $15,018 in U. S. currency seized on
                                  August 3, 2001

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and
(8) costs, including cost of prosecution and court costs.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
